Case 17-15634-mdc            Doc 51     Filed 08/12/20 Entered 08/12/20 12:53:02                Desc Main
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                      IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE: Raheem Furson
                                 Debtor(s)                                         CHAPTER 13

U.S. BANK NATIONAL ASSOCIATION (TRUSTEE
FOR THE PENNSYLVANIA HOUSING FINANCE
AGENCY)
                       Movant                                                  NO. 17-15634 MDC
            vs.

Raheem Furson
                                 Debtor(s)

William C. Miller Esq.                                                        11 U.S.C. Section 362
                                 Trustee

         MOTION OF U.S. BANK NATIONAL ASSOCIATION (TRUSTEE FOR THE
                  PENNSYLVANIA HOUSING FINANCE AGENCY)
                   FOR RELIEF FROM THE AUTOMATIC STAY
                              UNDER SECTION 362

         1.       Movant is U.S. BANK NATIONAL ASSOCIATION (TRUSTEE FOR THE

 PENNSYLVANIA HOUSING FINANCE AGENCY).

         2.       Debtor(s) Is\S the owner(s) of the premises 1165 Anchor Street, Philadelphia, PA 19124,

 hereinafter referred to as the mortgaged premises.

         3.      Movant is the holder of a mortgage, original principal amount of $102,999.00 on the

 mortgaged premises that was executed on April 16, 2010. Said mortgage was recorded on April 22, 2010 in

 Document ID 52201895. The Mortgage was subsequently assigned to Movant by way of Assignment of

 Mortgage recorded on October 23, 2015, in Document ID 52981231 in Philadelphia County.

         4.       William C. Miller Esq., is the Trustee appointed by the Court.

         5.       The commencement and/or continuation of the mortgage foreclosure proceedings by reason

 of non-payment of monthly mortgage payments were stayed by the filing of a Chapter 13 Petition in

 Bankruptcy by the Debtor(s).

         6.       Debtor(s) has failed to make the monthly post-petition mortgage payments in the amount of

 $632.00 for the months of March 2020 through August 2020 with monthly late charges at $16.09 each for

 the months of March 2020 through July 2020 and less of a suspense balance of $525.00.
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        7.        In addition to the other amounts due to Movant reflected in this Motion, as of the date

hereof, in connection with seeking the relief requested in this Motion, Movant has also incurred legal fees

and legal costs. Movant reserves all rights to seek an award or allowance of such fees and expenses in

accordance with applicable loan documents and related agreements, the Bankruptcy Code and otherwise

applicable law.

        8.        The total amount necessary to reinstate the loan post-petition is $3,347.45 (plus attorney’s

fees & costs).

        9.        Movant is entitled to relief from stay for cause.

        10.       Movant further seeks relief in order to, at its option, offer, provide and enter into any

potential forbearance agreement, loan modification, refinance agreement or other loan workout/loss

mitigation agreement. Movant may contact Debtor(s) via telephone or written correspondence to offer such

an agreement. Any such agreement shall be non-recourse unless included in a reaffirmation agreement.

        11.       This motion and the averments contained therein do not constitute a waiver by Movant of

its right to seek reimbursement of any amounts not included in this motion, including fees and costs, due

under the terms of the mortgage and applicable law.

        WHEREFORE, Movant prays that an Order be entered modifying the Stay and permitting Movant to

proceed with its mortgage foreclosure on the mortgaged premises, and to allow the Sheriff's Grantee to take

any legal action to enforce its right to possession of the mortgage premises. Further, Movant prays that an

Order be entered awarding Movant the costs of this suit, reasonable attorney's fees in accordance with the

mortgage document and current law together with interest.


                                                          /s/ Rebecca A. Solarz, Esquire
                                                          Rebecca A. Solarz, Esquire
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